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       & SULLIVAN, LLP                               MICHAEL J. BOWE
  2     Michael T. Zeller (Bar No. 196417)           (pro hac vice)
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      Facsimile: (213) 443-3100
  7                                                  Attorneys for Plaintiff
  8   Attorneys for Defendants MindGeek, S.á r.l Additional counsel on signature page
      (specially appearing), MG Freesites Ltd, MG
  9   Premium Ltd (specially appearing),
      MindGeek USA Incorporated, MG Global
 10   Entertainment Inc., and 9219-1568 Quebec,
      Inc.
 11
                           UNITED STATES DISTRICT COURT
 12
                          CENTRAL DISTRICT OF CALIFORNIA
 13
 14   SERENA FLEITES,                              CASE NO. 2:21-cv-4920-WLH-ADS
 15                  Plaintiff,                    JOINT STIPULATION RE
                                                   BRIEFING SCHEDULE FOR
 16         v.                                     DEFENDANTS’ RESPONSES TO
                                                   PLAINTIFF’S SECOND
 17   MINDGEEK S.A.R.L., et al.,                   AMENDED COMPLAINT
 18                  Defendants.
                                                   Judge: Hon. Wesley L. Hsu
 19
 20
                                                   SAC filed: May 23, 2024
 21
 22
 23
 24
 25
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 27
 28
                 JOINT STIPULATION RE BRIEFING SCHEDULE RELATING TO
                      RESPONSES TO SECOND AMENDED COMPLAINT
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  1           Defendants MindGeek S.à r.l, MG Freesites Ltd, MindGeek USA Incorporated,
  2   MG Premium Ltd, MG Global Entertainment Inc., 9219-1568 Quebec Inc., Visa Inc.,
  3   Redwood Capital Management, LLC, Redwood Master Fund, Ltd, Redwood
  4   Opportunity Master Fund, Ltd, Manuel 2018, LLC, Gingogerum, LLC, and White-
  5   Hathaway Opportunity Fund (collectively, “Redwood”), Colbeck Capital
  6   Management, LLC, CB Media Ventures LLC, CB Agency Services, LLC, and CB
  7   Participations SPV, LLC (collectively, “Colbeck”), Bernd Bergmair, Feras Antoon,
  8   and David Tassillo (collectively, “Defendants”) and Plaintiff Serena Fleites
  9   (“Plaintiff”) (collectively with Defendants, the “Parties”), by and through their
 10   counsel, hereby stipulate as follows:
 11           WHEREAS, on July 29, 2022, the Court granted Plaintiff leave to amend her
 12   complaint at the close of jurisdictional discovery (ECF No. 167);
 13           WHEREAS, on June 23, 2023, jurisdictional discovery closed (ECF Nos. 344,
 14   355);
 15           WHEREAS, on May 23, 2024, Plaintiff filed both a Motion to Amend the
 16   Caption for her pleading and a Second Amended Complaint (the “SAC”), which
 17   identifies Colbeck and Redwood as new defendants (ECF Nos. 384, 385);
 18           WHEREAS, on June 6, 2024, Plaintiff and the previously named defendants,
 19   MindGeek S.à r.l, MG Freesites Ltd, MindGeek USA Incorporated, MG Premium
 20   Ltd, MG Global Entertainment Inc., 9219-1568 Quebec Inc., Visa Inc., Bernd
 21   Bergmair, Feras Antoon, and David Tassillo, filed a Joint Stipulation Re Briefing
 22   Schedule for Defendants’ Motions to Dismiss, which set August 5, 2024, as their
 23   deadline to respond to the SAC and increased the page limit of each responsive
 24   motion by a Defendant to forty (40) pages (“Joint Stipulation”) (ECF No. 395);
 25           WHEREAS, on July 8, 2024, the Court granted the Parties’ Joint Stipulation,
 26   and approved Defendants’ increased page limit in response to the SAC and the
 27   following briefing schedule relating to the SAC (ECF No. 405):
 28
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                   JOINT STIPULATION RE BRIEFING SCHEDULE RELATING TO
                        RESPONSES TO SECOND AMENDED COMPLAINT
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  1
          August 5, 2024:               Each Defendant’s Deadline to Answer, Move, or
  2
                                        Otherwise Respond to the SAC;
  3
          September 12, 2024:           Plaintiff’s Deadline to Respond to Each Defendant’s
  4
                                        Answer, Motion, or Response (if and as applicable);
  5
          October 3, 2024:              Each Defendant’s Deadline to File Replies (if and as
  6
                                        applicable);
  7
            WHEREAS, on July 9, 2024, the Court granted Plaintiff’s Motion to Amend
  8
      the Caption to include Colbeck and Redwood as additional named defendants (ECF
  9
      No. 406);
 10
            WHEREAS, Plaintiff sent waivers of service to Colbeck on July 1, 2024, and
 11
      on July 12, 2024, Plaintiff filed Colbeck’s executed waivers of service relating to the
 12
      SAC, which set Colbeck’s deadline to answer, move, or otherwise respond to the
 13
      SAC as August 30, 2024 (ECF Nos. 412-15);
 14
            WHEREAS, after filing the SAC, Plaintiff’s counsel also filed thirteen (13)
 15
      additional actions against the same Defendants in the United States District Court for
 16
      the Central District of California (the “Additional Actions”);
 17
            WHEREAS, on July 11, 2024, counsel for all Defendants, and counsel for
 18
      Plaintiff conferred and agreed that given the length and complexity of the SAC, and
 19
      in order to promote efficiencies that could best be achieved by a coordinated briefing
 20
      schedule, good cause exists for a revised schedule for the time for all Defendants to
 21
      answer, move, or otherwise respond to the SAC, and for the subsequent related
 22
      briefing deadlines, as follows:
 23
          August 30, 2024:              Each Defendant’s Deadline to Answer, Move, or
 24
                                        Otherwise Respond to the SAC;
 25
          October 15, 2024:             Plaintiff’s Deadline to Respond to Each Defendant’s
 26
                                        Answer, Motion, or Response (if and as applicable);
 27
 28
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                  JOINT STIPULATION RE BRIEFING SCHEDULE RELATING TO
                       RESPONSES TO SECOND AMENDED COMPLAINT
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  1
           November 5, 2024:         Each Defendant’s Deadline to File Replies (if and as
  2
                                     applicable);
  3
           November 22, 2024:        Proposed Hearing on Each Defendant’s Answer,
  4
                                     Motion or Response (if and as applicable);
  5
            WHEREAS, the Parties agree that given the length and complexity of the SAC,
  6
      good cause exists to permit the additional named defendants, Colbeck and Redwood,
  7
      an increase in the number of pages for their motions in response to the SAC, not to
  8
      exceed forty (40) pages.
  9
            WHEREAS, also on July 11, 2024, counsel for Defendants and counsel for the
 10
      plaintiffs in the Additional Actions, further conferred and agreed to a coordinated
 11
      briefing schedule for those cases, whereby the time for each Defendant to answer,
 12
      move or otherwise respond to the Additional Actions is October 15, 2024; the time
 13
      for plaintiffs to respond to each answer, motion or response is November 22, 2024;
 14
      and the time for each Defendant to file a reply is December 13, 2024, and agreed to
 15
      submit corresponding stipulations in each of those Additional Actions;
 16
            WHEREAS, the Parties agree that Defendants preserve all objections and
 17
      defenses to the SAC, as well as to the complaints filed in each of the Additional
 18
      Actions, including any objection or defense on the ground of lack of personal
 19
      jurisdiction;
 20
            IT IS THEREFORE STIPULATED AND AGREED that there is good cause
 21
      for the Court to extend Defendants’ deadline to answer, move or otherwise respond
 22
      to the SAC and therefore that, subject to the approval of this Court, the subsequent
 23
      briefing deadlines shall be:
 24
           August 30, 2024:          Each Defendant’s Deadline to Answer, Move, or
 25
                                     Otherwise Respond to the SAC;
 26
           October 15, 2024:         Plaintiff’s Deadline to Respond to Each Defendant’s
 27
                                     Answer, Motion, or Response (if and as applicable);
 28
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                  JOINT STIPULATION RE BRIEFING SCHEDULE RELATING TO
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  1
           November 5, 2024:         Each Defendant’s Deadline to File Replies (if and as
  2
                                     applicable);
  3
           November 22, 2024:        Proposed Hearing on Each Defendant’s Answer,
  4
                                     Motion or Response (if and as applicable);
  5
            IT IS FURTHER STIPULATED AND AGREED that there is good cause for
  6
      the Court to permit the additional named defendants, Colbeck and Redwood, an
  7
      increase in the number of pages for their motions in response to the SAC, not to
  8
      exceed a total of forty (40) pages.
  9
            IT IS FURTHER STIPULATED AND AGREED that Defendants preserve all
 10
      objections and defenses to the SAC, including all objections and defenses on the
 11
      ground of lack of personal jurisdiction; and
 12
            Accordingly, the Parties respectfully request that this Court sign the Proposed
 13
      Order setting forth this amended briefing schedule and page limit increases set forth
 14
      above.
 15
 16
            IT IS SO STIPULATED.
 17
 18   DATED: July 24, 2024                          PAUL HASTINGS LLP
 19
 20                                                 By:/s/ James M. Pearl
                                                       JAMES M. PEARL
 21                                                    ADAM M. REICH
                                                       EMMA LANZON
 22                                                    KIAURA CLARK
 23                                                 Attorneys for Defendants Redwood
                                                    Capital Management, LLC, Redwood
 24                                                 Master Fund, Ltd, Redwood Opportunity
                                                    Master Fund, Ltd, Manuel 2018, LLC,
 25                                                 Gingogerum, LLC, and White-Hathaway
                                                    Opportunity Fund
 26
 27
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                       RESPONSES TO SECOND AMENDED COMPLAINT
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  1   DATED: July 24, 2024                    WHITE & CASE LLP
  2
  3                                           By:/s/ David G. Hille
                                                 DAVID G. HILLE
  4                                              KEVIN C. ADAM
                                                 RUSSELL J. GOULD
  5
                                              Attorneys for Defendants Colbeck
  6                                           Capital Management, LLC, CB Media
                                              Ventures LLC, CB Agency Services,
  7                                           LLC, And CB Participations SPV, LLC
  8
      DATED: July 24, 2024                    BROWN RUDNICK LLP
  9
 10
                                              By:/s/ Micaela Pina
 11                                              MICHAEL J. BOWE
                                                 LAUREN TABAKSBLAT
 12                                              MICAELA PINA
 13                                           Attorneys for Plaintiff Serena Fleites
 14
      DATED: July 24, 2024                    QUINN EMANUEL URQUHART &
 15                                           SULLIVAN, LLP
 16
 17                                           By:/s/ Diane Cafferata
                                                 MICHAEL T. ZELLER
 18                                              MICHAEL E. WILLIAMS
                                                 DIANE CAFFERATA
 19
                                              Attorneys for Defendants MindGeek
 20                                           S.à r.l., MG Freesites Ltd, MindGeek
                                              USA Incorporated, MG Premium Ltd,
 21                                           MG Global Entertainment Inc., and
                                              9219-1568 Quebec Inc.
 22
 23   DATED: July 24, 2024                    WEIL, GOTSHAL & MANGES LLP
 24
 25                                           By:/s/ Drew Tulumello
 26                                              DREW TULUMELLO

 27                                           Attorney for Defendant Visa Inc.

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                JOINT STIPULATION RE BRIEFING SCHEDULE RELATING TO
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  1   DATED: July 24, 2024                    MORVILLO ABRAMOWITZ
                                              GRAND IASON & ANELLO PC
  2
  3
                                              By:/s/ Jonathan S. Sack
  4                                              JONATHAN S. SACK
  5                                           Attorney for Defendant David Tassillo
  6
      DATED: July 24, 2024                    COHEN & GRESSER LLP
  7
  8
                                              By:/s/ Matthew V. Povolny
  9                                              MATTHEW V. POVOLNY
 10                                           Attorney for Defendant Feras Antoon
 11
 12   DATED: July 24, 2024                    WALDEN MACHT & HARAN LLP
 13
 14                                           By:/s/ Ronald G. White
                                                 RONALD G. WHITE
 15
                                              Attorney for Defendant Bernd Bergmair
 16
 17
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  1                             ATTESTATION STATEMENT
  2         I, Diane Cafferata, the filer of this Stipulation, attest pursuant to Rule 5-
  3   4.3.4(a)(2) of the Local Rules for the United States District Court for the Central
  4   District of California that all other signatories listed, and on whose behalf the filing
  5   is submitted, concur in the filing’s content and have authorized the filing.
  6
  7
      DATED: July 24, 2024                         QUINN EMANUEL URQUHART &
  8                                                SULLIVAN, LLP
  9
 10                                                By:/s/ Diane Cafferata
                                                      DIANE CAFFERATA
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